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                                 #:2645


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     Los Angeles, CA 90071
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 5   FRANK E. SHEEDER III (Admitted Pro Hac Vice)
     ALSTON & BIRD LLP
 6   2200 Ross Avenue, Suite 2300
     Dallas, TX 75201
 7   Telephone: 214-922-3400
     Facsimile: 214-922-3899
 8   E-mail:     frank.sheeder@alston.com
 9   Attorneys for Moving Defendants
     STANFORD HEALTH CARE, STANFORD
10   HEALTH CARE ADVANTAGE, THE LELAND STANFORD
     JUNIOR UNIVERSITY (A/K/A THE BOARD OF TRUSTEES
11   OF THE LELAND STANFORD JUNIOR UNIVERSITY), and
     DEBRA ZUMWALT, and FREDERICK DIRBAS
12                      UNITED STATES DISTRICT COURT
13                     CENTRAL DISTRICT OF CALIFORNIA

14 UNITED STATES OF AMERICA                     Case No. 2:17-cv-08726-DSF-AFM
                                                Assigned to the Honorable Dale S.
15          and                                 Fischer, [Courtroom 7D]

16 THE STATE OF CALIFORNIA                DECLARATION OF FRANK E.
   Ex. Relator Emily Roe., an individual; SHEEDER III IN SUPPORT OF
17                                        MOVING DEFENDANTS’
          Plaintiffs,                     OPPOSITION TO RELATOR’S
18                                        MOTION FOR COSTS PURSUANT
          v.                              TO FED. R. CIV. P. RULE 4(D)(2)
19
   STANFORD HEALTHCARE BILLING [Filed concurrently with Moving
20 DEPARTMENT, STANFORD HEALTH Defendants’ Opposition to Relator’s
   CARE (FORMERLY KNOWN AS                Motion for Costs Pursuant to Fed. R. Civ.
21 STANFORD       HOSPITALS   AND         P. Rule 4(d)(2)]
   CLINICS), DR. FREDERICK DIRBAS,
22 DEBRA ZUMWALT, THE BOARD OF Hearing
   DIRECTORS OF THE STANFORD              Date: July 13, 2020
23 HEALTH     CARE,   THE BOARD     OF    Time: 1:30 p.m.
   DIRECTORS OF THE LUCILE SALTER Ctrm: First Street Courthouse
24 PACKARD CHILDREN’S HOSPITAL                  Courtroom 7D
   AT STANFORD, THE LELAND                      350 West 1st Street
25 JUNIOR    UNIVERSITY,    THE   BOARD         Los Angeles, CA 90012
   OF TRUSTEES OF STANFORD
26 UNIVERSITY, STANFORD HEALTH Complaint Filed: December 4, 2017
   CARE ADVANTAGE and DOES 1-10, First Am. Complaint: June 22, 2018
27 inclusive.                             Second Am. Complaint: March 2, 2020

28        Defendants.
                                          -1-
      DECLARATION OF FRANK E. SHEEDER III IN SUPPORT OF MOVING DEFENDANTS’ OPPOSITION TO
              RELATOR’S MOTION FOR COSTS PURSUANT TO FED. R. CIV. P. RULE 4(D)(2)
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 1         I, Frank E. Sheeder III, declare under penalty of perjury as follows:
 2         1.     I am an attorney licensed to practice law in Texas since 1987, admitted
 3   pro hac vice before this Court, and counsel of record in this matter for Defendants
 4   Stanford Health Care (“SHC”), Stanford Health Care Advantage (“SHCA”), The
 5   Leland Stanford Junior University (a/k/a The Board of Trustees of the Leland
 6   Stanford Junior University) (the “University”), Debra Zumwalt (“Ms. Zumwalt”),
 7   and Frederick Dirbas (“Dr. Dirbas”) (collectively “Moving Defendants”). I submit
 8   this declaration in support of Moving Defendants’ Opposition to Relator’s Motion
 9   for Costs Pursuant to Fed. R. Civ. P. Rule 4(d)(2). The facts set forth herein are based
10   on my personal knowledge and, if called upon to do so, I would competently testify
11   thereto.
12         2.     On December 26, 2019, Ms. Juarez, counsel for Relator in this matter,
13   wrote to me asserting that Relator properly completed service of process on SHC,
14   SHCA, the University, and Ms. Zumwalt effective December 17, 2019. A true and
15   correct copy of this email is attached as Exhibit A, but the attachment to that email
16   is intentionally omitted for brevity as it is already available as ECF No. 16.
17         3.     On numerous occasions before receiving her December 26, 2019,
18   communication, I had proposed that Ms. Juarez issue Rule 4(d) requests for waiver
19   of service of summons to SHC, SHCA, the University, and Ms. Zumwalt, as
20   demonstrated in my January 27, 2020, Declaration of Frank E. Sheeder III, in Support
21   of Moving Defendants’ Reply in Support of Motion to Dismiss First Amended
22   Complaint (ECF No. 52-1), which is incorporated herein.
23         4.     At no time before or after Ms. Juarez’s December 26, 2019,
24   communication did Relator or Ms. Juarez send me a Waiver of Service of Summons,
25   any of the forms or language required under Rule 4(d), or any communication that
26   contained the information outlined in Rule 4(d)(1). I am not aware of Relator or Ms.
27   Juarez ever sending that information to any Defendant in this matter, nor have they
28
                                                -2-
      DECLARATION OF FRANK E. SHEEDER III IN SUPPORT OF MOVING DEFENDANTS’ OPPOSITION TO
              RELATOR’S MOTION FOR COSTS PURSUANT TO FED. R. CIV. P. RULE 4(D)(2)
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 1   attached any such proof to Relator’s Motion for Costs Pursuant to Fed. R. Civ. P.
 2   Rule 4(d)(2) (ECF No. 69) (the “Motion”).
 3         5.     Ms. Juarez filed the Motion without ever having conferred with me
 4   about the Motion or its anticipated substance. Ms. Juarez had never suggested that
 5   her client was entitled to service costs under Rule 4(d) or even mentioned her intent
 6   to file such a motion. I first learned that Relator intended to file the Motion when I
 7   received ECF notification that it had been filed.
 8         6.     On June 12, 2020, I wrote to Ms. Juarez to remind her that she had failed
 9   to confer prior to filing the Motion, explain why her client had no good faith legal
10   basis to seek costs under Rule 4(d), to warn her that the Motion and her supporting
11   declaration contained many objective misstatements that could be the basis for
12   sanctions against her and her client, and demand that she withdraw the Motion. A
13   true and correct copy of this communication is attached as Exhibit B.
14         7.     On June 18, 2020, I wrote Ms. Juarez and again demanded that she
15   withdraw the Motion. A true and correct copy of this communication is attached as
16   Exhibit C.
17         8.     Ms. Juarez has not withdrawn the Motion or corrected her declaration.
18
19         I declare under penalty of perjury under the laws of the United States that the
20   foregoing is true and correct. Executed this 22nd day of June 2020, in Dallas, Texas.
21
22                                          /s/Frank E. Sheeder III
                                                         Frank E. Sheeder III
23
24
25
26
27
28
                                               -3-
      DECLARATION OF FRANK E. SHEEDER III IN SUPPORT OF MOVING DEFENDANTS’ OPPOSITION TO
              RELATOR’S MOTION FOR COSTS PURSUANT TO FED. R. CIV. P. RULE 4(D)(2)
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                               Exhibit A
       Case 2:17-cv-08726-DSF-AFM Document 73-1 Filed 06/22/20 Page 5 of 23 Page ID
                                        #:2649



From:                            GLORIA JUAREZ, ESQ. <gloria@thegjlaw.com>
Sent:                            Thursday, December 26, 2019 5:36 PM
To:                              Sheeder, Frank
Cc:                              Gloria Juarez; Smyer, Brad; jd 121212
Subject:                         STANFORD Fw: service of process United States of America, et al. vs. Stanford
Attachments:                     18-6-22 conformed FAC stanford &EXH 561 pages MASTER (2).pdf


EXTERNAL SENDER – Proceed with caution



December 26, 2019

Mr. Frank Sheeder
Attorney for Stanford Defendants


Dear Frank,

In follow up to my office's earlier correspondence addressed to you and Brad which is incorporated by
reference herein, we did not receive or review any further dispositive written correspondence from you.
We thus intended to email you on December 20, 2019 (inset below for transparency) as to the service matter. I
apologize for any inadvertence in light of the holidays and limited end of year staffing in forwarding this
correspondence as intended last week.

As you recall, Judge Hon. Fisher had an OSC set in this matter for December 6, 2019 for Plaintiffs to proceed
with prosecuting the case. We were therefore under court order by Dec. 6th.
Therefore, Stanford service of process was ordered before you contacted our office.

As you may know, our third party service process emailed us only late on December 19, 2019 moments before
the close of business that certain Stanford Defendants were successfully served on 12/17/19.
We therefore drafted an email to you shortly thereafter on December 20th to meet and confer on the service
issue. Our intended discussion was in the spirit of cooperation that Plaintiffs could agree to not file the proof of
service in anticipation of discussion with your office as to the proposed waiver. However, we had not at that
time received written correspondence from you on that issue.

Accordingly, in good faith, we have not yet filed the 12/17/2019 proof of service of the First Amended
Complaint with the court, and have the opportunity to withhold the same pending furtherance of the meet and
confer. Although we incurred significant costs and fees in effectuating service, and there were additional costs
incurred because of lack of cooperation by several of your clients, we would have no obligation to file those
effectuated POS with the court.

Please find attached hereto a courtesy electronic copy of the FAC and Exhibits thereto. While we can certainly
stipulate to procedurally unseal the exhibits publicly now, we humbly propose that it may be in your clients'
favor to not unseal the Exhibits should parties effectively reach a favorable case settlement before active
litigation begins. Accordingly, as set forth in our December 6, 2019 Statement to the Court, we had proposed
seeking leave of court to re-seal the FAC should the action be dismissed by all parties. As we proposed
previously and you've agreed for the week of January 6th, we would agree to thr ust meaningful discussion as to
the allegations in the FAC, as well as your clients' past and future billing compliance obligations. Unless we
receive timely written communication from you stating otherwise, we will need to file the 12/17/2019 POS with
the court before the end of the year.
                                                           1

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Please let us know how we should proceed. Thank you in advance for your anticipated cooperation.

Best Wishes and Happy Holidays!


                                                        GJ
                                                  Gloria Juarez
                                         LAW OFFICES OF GLORIA JUAREZ

                                               ORANGE COUNTY OFFICE
                                             26081 Merit Circle , Suite 112
                                                Laguna Hills, CA 92653
                                                  Tel. 213-598-4439
                                                Facsimile 714-919-0254


---------- Forwarded message ---------
From:
Date: Fri, Dec 20, 2019 at 2:02 PM

We just received this email from Onelegal that personal service was successfully effectuated on the Stanford
Defendants.
Thank you


----- Forwarded Message -----
From: noreply@
Sent: Thursday, December 19, 2019, 04:45:27 PM PST
Subject: Successful service of process The United States of America, et al. vs. Stanford Healthcare



  We have successfully served your            The United States of America, et al. vs. Stanford Healthcare Billing     :
  documents for                               Department, et al.

     Attempt Date        Attempt Time      Address                Status    Manner of Service                   Desc
      12/17/2019            12:14 PM       Bldg. 170, 3rd Floor             Individual Substitute Service

  What happens next
  We are processing your proof of service. When it's available, you'll receive it by email. This typically takes 3-5
  business days.

  If you have questions, please email us.

  Thank you. We appreciate your business.

  Sincerely,




----- Forwarded Message -----
 Status of Orders placed - 14171340, 14171360, 14166162, 14171432


Good morning,
                                                             2

                                                                                                                5
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I wanted to update you on the status of the above orders placed for service. O
served. The following orders below were not served as service was refused by
told the server the entities in these orders were not titled correctly. No other d
what the issue was.




 I have placed these four orders on hold at this point to allow you time to provi
these orders, if you decide to not move ahead with the orders below then plea
the non-service report to the agent, per your instructions. I have also prepared
which were served – again, per your instructions.


Please let me know how you wish to proceed with the orders below by Thu rsda
non-served. Thank you!



Orders #14171306, (Stanford Healthcare Billing Department),



#14171478, (The Board of Trustees of Stanford University),



#14171417 (The Board of Directors of the Lucile Salter Packard Children's Hosp
#14171388 (The Board of Directors of the Stanford Health Care)


--


                                       GJ
                                          3

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                                  #:2652
                               Gloria Juarez
                      LAW OFFICES OF GLORIA JUAREZ

                            ORANGE COUNTY OFFICE
                          26081 Merit Circle , Suite 112
                             Laguna Hills, CA 92653
                               Tel. 213-598-4439
                             Facsimile 714-919-0254




                                        4

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       Email Attachment (Already on File as ECF No. 16) Intentionally
                           Omitted for Brevity




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                                       #:2655



From:                           Sheeder, Frank
Sent:                           Friday, June 12, 2020 5:12 PM
To:                             Gloria Juarez; GLORIA JUAREZ, ESQ.
Subject:                        US ex Rel Roe
Attachments:                    20200612 Letter to G. Juarez.pdf


Gloria,

Please see the attached correspondence.

Best regards,
Frank

Frank Sheeder, Partner
ALSTON & BIRD
2200 Ross Ave., Suite 2300
Dallas, TX 75201

O (214) 922-3420
C (214) 208-9900

Frank.Sheeder@Alston.com




                                                        1

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                                                                  Chase Tower
                                                          2200 Ross Avenue, Suite 2300
                                                                Dallas, TX 75201
                                                        214-922-3400 | Fax: 214-922-3899


   June 12, 2020

   Ms. Gloria Juarez, Esq.
   Law Offices of Gloria Juarez
   VIA email to tootsieglo@sbcglobal.net and gloria@thegjlaw.com

   Re:         U.S. ex rel. Roe, et al. v. Stanford Healthcare Billing Department, et al., 2:17-cv-08726-DSF-
               AFM

   Dear Ms. Juarez,

   As you know, we represent Stanford Health Care (“SHC”), Stanford Health Care Advantage (“SHCA”),
   The Leland Stanford Junior University (the “University”), Ms. Zumwalt, and, beginning after your
   filing of the Second Amended Complaint (“SAC”), Dr. Dirbas, in the above-referenced matter
   (“Moving Defendants”).

   On May 29, 2020, you filed an objectively frivolous “Motion for Costs of Service Pursuant to Fed. R.
   Civ. P. Rule [sic] 4(d)(2)” against Moving Defendants, ECF Nos. 69, 69-1, and 69-2 (“Motion for
   Costs”). On June 2, 2020, you emailed a copy of a draft motion for sanctions (“Motion for
   Sanctions”) that you threatened to file if Moving Defendants did not “withdraw and seal the de-
   anonymized portions of [their] Motion (ECF 64) within 21 days of the date of this letter.”

   I write to caution you that these improper Motions are based on frivolous legal arguments and
   unfounded factual contentions that will establish grounds for sanctions against you and your client,
   as explained below, and to exhaust my clients’ good faith efforts to resolve these issues before
   resorting to Court intervention.

   Motion for Costs

   Your client’s Motion for Costs violates the Local Rules and the Court’s applicable Standing Order,
   contains objectively false misrepresentations of fact, and ignores the plain language of Rule 4(d).
   Among other things:

              You have falsely certified compliance with Local Rule 7-3 despite knowing that you and I
               have never communicated about your intent to file such a motion. This alone “will be
               grounds for sanctions” and will allow the Court to disregard your Motion under Local Rule 7-
               3 and paragraph 7.b. of the Court’s applicable Standing Order.

              Had you conferred with me before filing the Motion for Costs, I would have reminded you
               that your client has no basis to make a claim for costs under Rule 4(d)(2). As you know, Rule
               4(d)(2) allows a Court to award costs that a plaintiff incurs after a defendant refuses to


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               execute a waiver of service of summons that was requested in compliance with Rule 4(d)(1).
               Your client has no good faith claim for costs under Rule 4(d) for many reasons, including:

                     o     First, as you know and as the communications attached to Motion for Costs confirm,
                           you never “requested” that any defendant waive service of summons under Rule
                           4(d). Instead, you rejected my many inquiries about a possible 4(d) waiver for SHC,
                           Stanford Health Care Advantage, the University, and Ms. Zumwalt; initiated service
                           of the First Amended Complaint; and then, only after you were convinced that “all
                           Defendants have been served compliant with local rules,” stated that you had “no
                           objection” to my earlier inquiries about waiver of service of summons for the
                           requested defendants. See ECF No. 69-2, Ex. B, at 13 and 17. You cannot truthfully
                           characterize your post-service statement that you had “no objection” to my
                           previous and then moot inquiries about waiver for these specific defendants as a
                           request for waiver or as involving any other defendant, such as Dr. Dirbas. You and
                           your client’s continued characterization of your communications as Rule 4(d)(1)
                           requests to all defendants simply has no basis in fact and, as shown below, is
                           demonstrably false based on your own filings.

                     o     Second, even if your communications could be considered a “request” to waive
                           service of summons, none of them complied with the very specific requirements
                           you “must” follow to invoke Rule 4(d). Among other things, your communications
                           were not addressed to any specific defendant; were not accompanied by a copy of
                           the complaint, 2 copies of the waiver form appended to Rule 4, and a prepaid
                           means for returning the form; did not include the required language appended to
                           Rule 4; did not give the defendant at least 30 days to respond before initiating
                           service; and were not sent by U.S. mail or other reliable means. There is no
                           question that you never complied with Rule 4(d)(1), and the documents attached to
                           your declaration confirm this fact. Your client has absolutely no good faith basis for
                           filing a motion for costs based on Rule 4(d)(2) when your own filings show that you
                           never even attempted to comply with the plain and prerequisite language of Rule
                           4(d)(1). This alone is fatal to the entire Motion for Costs and leads to the
                           inescapable conclusion that it is simply an improper and pretextual attempt to
                           harass my clients, cause unnecessary delay, and needlessly increase the cost of
                           litigation.

                     o     Third, not only does your client lack any arguable basis to seek costs under Rule
                           4(d)(2), your own declaration shows that none of the costs she seeks are even
                           covered by that Rule. Your client could never seek costs related to SHC, SHCA, the
                           University, or Ms. Zumwalt because you claim to have served these defendants
                           before you supposedly “requested” waiver through your “no objection”
                           communication and because they entered appearances in this matter less than 30
                           days after your communication. See Fed. R. Civ. P. 4(d)(1)(F) (requiring a plaintiff to
                           wait to initiate service until at least 30 days after properly requesting waiver). Your
                           client also seeks cost related to service of Dr. Dirbas but, again, you initiated service
                           before your “no objection” communications and you have yet to produce a single
                           document showing that you ever requested that he waive service of summons, let
                           alone a request that complies with Rule 4(d)(1). Finally, your client is apparently
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                           attempting to have Moving Defendants pay for service costs related to other
                           defendants who are not even parties to the Motion for Costs, which is obviously
                           improper and extends far beyond the reach of Rule 4(d)(2), which is defendant-
                           specific.

              In addition to the complete lack of legal support for the Motion for Costs, it and the
               declaration you made in an effort to support it are based on other objective
               misrepresentations that will subject you and your client to sanctions if pursued. For
               example, in paragraph 8 of your declaration you swear under oath that you wrote to me on
               September 13, 2019, about “a Rule 4(d) waiver for service of the Summons and Complaint.”
               None of that is true. Even a cursory review of the email you attach in support shows that
               the email is not from you, it is from someone named “JD” who purports to be your
               “apprentice,” and the email is about “accepting service,” and never mentions waiver or Rule
               4(d). You undoubtedly know that accepting service is not the same as waiving service under
               the specific requirements of Rule 4(d). Even worse, the Motion for Costs and your
               declaration are based on the objective misrepresentation that you requested on multiple
               occasions that “Defendants” waive service under Rule 4(d), but, as discussed above, your
               own filings show otherwise. All of your recent declarations contain numerous
               misstatements for which you have no good faith legal or factual basis, some of which are
               further elaborated below, and all of which would be the basis for sanctions against you.

   Motion for Sanctions

   Just as with your client’s Motion for Costs, her proposed Motion for Sanctions does not comply with
   the Local Rules or the Court’s applicable Standing Order, contains even more objective
   misrepresentations, and ignores the plain language of Rule 11. Among other things:

              You have yet to serve your client’s Motion for Sanctions as required by Rule 11(c)(2). Rule
               11(c)(2) prohibits you from filing a motion for sanctions until “21 days after service” of the
               draft motion upon the other parties in compliance with Rule 5. I have never consented in
               writing to email service of non-ECF filed documents in this matter. Thus, an email copy of
               your unfiled Motion for Costs does not comply with Rule 5, and the sworn statements to the
               contrary by you and “Arthur Long” are unquestionably false. You cannot file your Motion
               for Sanctions until 21 days after service, which you have yet to accomplish.

              Your proposed hearing date disregards the Rules and the Court’s Standing Order. For
               example, in paragraph 8 of your declaration you state that your May 25, 2020, letter
               “gave defense more than 21 days before the hearing date of July 13, 2020 to mitigate
               their pleading conduct.” But Rule 11(c)(2) requires a movant to wait at least 21 days
               between serving and filing the draft motion; it has nothing to do with the proposed
               hearing date. Furthermore, your proposed hearing date violates Local Rule 6-1 and
               paragraph 7.a of the Court’s Standing Order, both of which require parties to file
               motions at least 28 days before the hearing date. This means that the earliest you could
               set the Motion for Sanctions for hearing is 28 days after you file it, which, as explained
               above, is still at least 21 days out.



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              The Motion for Sanctions and your declaration are also based upon objective
               misrepresentations. For example, in addition to the items outlined above:

                     o     There is no basis for your client’s claim that Moving Defendants’ wrongfully “de-
                           anonymatized” her or anyone else. First, Footnote 3 to the Rule 10 Motion
                           included a partial name that appeared on your website and which is associated
                           with various press releases about this matter. This is nothing more than what
                           you have disseminated publicly and does not supply any “de-anonymatizing”
                           information. Even if it did (which it does not), courts have rejected the
                           argument that disclosure of partial names or potentially identifying information
                           about the plaintiff eviscerates her ability to proceed anonymously. Second, and
                           importantly, that partial name you posted to your website does not match the
                           name on the medical records attached to the SAC, nor do any of the names
                           included in your client’s SAC, associated with earlier correspondence we
                           received from yet another person purporting to be your “apprentice,” or listed
                           on public FOIA records from the period in question. I am frankly surprised that
                           your client would attempt to ascribe wrongful intent to Moving Defendants for
                           referencing non-privileged, non-identifying information that you have already
                           disseminated publicly on your website and otherwise.

                     o     The Rule 10 motion is proper because your client has put her own identity at
                           issue in this matter. Your client cannot assert that she is an “original source,” an
                           expert, a fact witness, and, according to you, an advocate in this matter while
                           simultaneously pretending that her identity is not central to her claims and
                           credibility.

                     o     Your client cannot contend that her anonymity has already been determined in
                           this matter. The ability to proceed anonymously in federal court rests squarely
                           within the discretion of the Court against the backdrop of Ninth Circuit
                           authorities, not spectral references to a state court matter involving different
                           allegations. See Doe v. Kamehameha Sch./Bernice Pauahi Bishop Estate, 596
                           F.3d 1036, 1042-45 (9th Cir. 2010).

                     o     There is also absolutely no basis for your client’s contention that the Rule 10
                           motion is barred by Rule 12(g)(2). Rule 12(g)(2) plainly states that a “party that
                           makes a motion under this rule must not make another motion under this rule
                           raising a defense or objection that was available to the party but omitted from
                           its earlier motion.” Moving Defendants’ Rule 10 motion is not based on Rule 12,
                           nor does it address issues covered by Rule 12. Notably, the Motion for
                           Sanctions does not cite any support for your client’s position, nor can it. The
                           sole case your client cites in the context of anonymity was before the court on a
                           motion to dismiss that was filed after discovery had commenced and that fact
                           was apparently of no concern to the district court or court of appeals. See Does
                           I thru XXIII v. Advanced Textile Corp., 214 F.3d 1058, 1064 (9th Cir. 2000); see
                           also, e.g., Doe v. John F Kennedy Univ., No. C-13-01137, 2013 WL 4565061, at *1
                           (N.D. Cal. Aug. 27, 2013) (granting defendants’ Rule 10(a) motion to dismiss that

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                           was filed in a separate document from their motion to dismiss under Rule
                           12(b)(6)). Furthermore, the overwhelming weight of authorities cited in the
                           Rule 10 motion—authorities which your client conveniently ignores in her
                           Motion for Sanctions—establish that whether anonymity is challenged by a Rule
                           10 motion, a request for an order to show cause, or sua sponte by the court, it is
                           a plaintiff’s responsibility to satisfy the burden to proceed anonymously, not a
                           defense or objection governed by Rule 12. See Kamehameha, 596 F.3d at 1040;
                           Perez v. ECFC Holdings, Inc., No. 16-4000 DSF, 2016 WL 10988574, *1 & n.1 (C.D.
                           Cal. Aug. 2, 2016); Doe v. Coder, No. C-10-4756, 2010 WL 4938282, at *1 (C.D.
                           Cal. Nov. 30, 2010); 4 Exotic Dancers v. Spearmint Rhino, No. CV-08-4038, 2009
                           WL 250054, at *1 (C.D. Cal. Jan. 29, 2009); see also Doe ex rel. Doe v. Harris, No.
                           14–cv–00802, 2014 WL 4207599, at *1 (W.D. La. Aug. 25, 2014); Doe v. Penzato,
                           No. CV10-5154 MEJ, 2011 WL 1833007, at *1 (N.D. Cal. May 13, 2011); Doe v.
                           Texaco, Inc., No. C06-02820, 2006 WL 2850035, at *1-2 (N.D. Cal. Oct. 5, 2006);
                           Doe v. Rostker, 89 F.R.D. 158, 163 (N.D. Cal. 1981). Nor can your client feign
                           surprise that Moving Defendants challenged her anonymity in response to her
                           SAC, the first “pleading” in which she admitted that she was attempting to
                           proceed anonymously.

                     o     Although not appropriate for a Motion for Sanctions, your client repeatedly
                           asserts that Dr. Dirbas has been properly served in this matter, but the
                           attachments to your declaration confirm just the opposite. Exhibit H shows that
                           Relator failed to complete personal service on Dr. Dirbas, and Exhibits I and J
                           show exactly what is alleged in Moving Defendants’ Motion to Dismiss—Relator
                           attempted to accomplish service of the FAC through alternate means under
                           California Code of Civil Procedure § 415.20(b) but did not complete such
                           “service” by mail until after the FAC had already been dismissed. This also
                           proves that your client has no good faith basis to argue that Dr. Dirbas was ever
                           timely served with the FAC or that he waived his arguments under Rule 12(b)(5).
                           No doubt recognizing that you had yet to serve Dr. Dirbas with a live pleading,
                           you reached out to him by email with a copy of the SAC to seek an “agreement
                           to electronic service for service in this case,” which was nevertheless insufficient
                           to effectuate service of process or comply with the Court’s previous order. See
                           ECF No. 63-3, ¶¶ 2, 4, Exs. A and B.

                     o     The Motion for Sanctions is based, in part, on your client’s assertion that Dr.
                           Dirbas “denies any knowledge of this suit until March 2, 2020 when he claims
                           Relator first contacted him.” Your client’s statement purposefully misrepresents
                           Dr. Dirbas’s actual statement that the communication was the “first time I
                           learned that Relator was trying to contact me about this matter.” If you have
                           documentation that proves otherwise, please produce it immediately to clarify
                           that your client’s misrepresentation was not intentional.

              Your client’s attempt to throw stones at Dr. Dirbas based upon her own misreading of
               his declaration is particularly striking because almost every paragraph of your sworn
               declaration in support of the Motion for Costs (which is almost identical to the other

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               three you have recently filed) contains blatant and verifiable misrepresentations of fact.
               For example, just to name a few:

                     o     In paragraph 2, you swear that you served a copy of the Motion for Sanctions in
                           accordance with Rule 5 through electronic means, but, as explained above, this
                           is impossible because we have never agreed to accept service of non-ECF filed
                           documents.

                     o     In paragraph 3 and on page 5 of the Motion for Sanctions, you and your client
                           falsely suggest that I had tried to confer with you about dismissal of the FAC as
                           to Dr. Dirbas under Rule 12(b)(5), but my January 3, 2020, letter to you about
                           the issue made clear that I was attempting to confer on behalf of the clients I
                           represented at the time, SHC, SHCA, the University, and Ms. Zumwalt. You have
                           absolutely no basis for your sworn misrepresentation.

                     o     In paragraph 4, you misrepresent that we communicated about a waiver of
                           service for Dr. Dirbas, but as referenced above, my inquiries about waiver never
                           included Dr. Dirbas. The very communications you attached to your declaration
                           confirm this and reiterate your understanding that my “office stated it does not
                           represent all Defendants” and acknowledge that I had never communicated
                           with you about Dr. Dirbas.

                     o     In paragraph 8, you misrepresent the requirements of Rule 11 and wrongfully
                           claim that your client has been “de-anonymatized,” as outlined above.

                     o     In paragraph 10, you swear under oath that you wrote to me on September 13,
                           2019, and requested that my office “agree to a Rule 4(d) waiver for service of
                           the Summons and Complaint,” and claim that you never received a response.
                           None of that is true. Even a cursory review of the email you attach in support
                           shows that the email is not from you, it is from someone named “JD” who
                           purports to be your “apprentice,” and the email asks if my office would be
                           “accepting service;” it never mentions waiver, Rule 4(d), or complies with the
                           requirements of Rule 4(d)(1). Furthermore, documents already on file with the
                           Court show that I emailed you about the communication less than a week later
                           and raised the question of possible waiver for SHC, but you never responded to
                           me. See ECF No. 52-1, Ex. A.

                     o     In paragraphs 11 and 18, you repeat the same misstatements from your client’s
                           Motion for Costs by suggesting that you requested a waiver from even a single
                           defendant in compliance with Rule 4(d). Your own communications show this
                           to be false.

                     o     In paragraph 19 and footnote 1, you misconstrue our previous communications
                           about service of ECF filed documents and wrongfully suggest that my office does
                           and always has represented all “Defendants.” You have no good faith basis for



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                           this claim, and the communications attached to your own declaration and the
                           other filings in this matter conclusively show the opposite.

   Proposed Resolution and Demand

   As outlined above, you and your client simply do not have any legitimate good faith legal or factual
   basis to pursue the Motion for Costs or Motion for Sanctions. However, in an attempt to resolve
   these issues before seeking Court intervention, Moving Defendants propose the following
   resolution, which is more than reasonable under the circumstances:

              Moving Defendants will: (1) draft and file an agreed stipulation that the Court replace ECF
               No. 64 with a copy that redacts footnote 3; (2) withdraw its objections to service of the SAC
               upon Dr. Dirbas and its motion to strike the SAC under Local Rule 5.2-1; and (3) agree not to
               seek sanctions or other relief based on the Motion for Costs, Motion for Sanctions, or your
               accompanying declarations.

              Relator will: (1) withdraw her Motion for Costs and agree not to refile it or any other
               document containing those arguments; (2) agree not to file the Motion for Sanctions or any
               future filing on the bases outlined therein; and (3) draft and file an agreed stipulation that
               the Court replace ECF No. 55 with a copy that redacts the Menlo Park addresses listed in
               paragraphs 18 and 19 and in the Certificate of Service.

   If this is agreeable, please confirm your consent in writing by June 16, 2020. Otherwise, you have
   been advised that your client has no legitimate legal or factual basis to pursue the Motions, your
   continued pursuit of them could only be for improper purposes, and Moving Defendants will have
   no choice but to pursue all rights and remedies against you and your client.

   Sincerely,



   Frank E. Sheeder




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                               Exhibit C
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                                       #:2664



From:                            Sheeder, Frank
Sent:                            Thursday, June 18, 2020 4:28 PM
To:                              GLORIA JUAREZ, ESQ.; Gloria Juarez
Subject:                         US ex rel. Roe
Attachments:                     20200618 Letter to G. Juarez.pdf


Gloria, please see the attached correspondence.

Best regards,
Frank




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                                 #:2665




                                                                  Chase Tower
                                                          2200 Ross Avenue, Suite 2300
                                                                Dallas, TX 75201
                                                        214-922-3400 | Fax: 214-922-3899


   June 18, 2020

   Ms. Gloria Juarez, Esq.
   Law Offices of Gloria Juarez
   VIA email to tootsieglo@sbcglobal.net and gloria@thegjlaw.com

   Re:         U.S. ex rel. Roe, et al. v. Stanford Healthcare Billing Department, et al., 2:17-cv-08726-DSF-
               AFM

   Dear Ms. Juarez,

   As you know, we represent Stanford Health Care, Stanford Health Care Advantage, The Leland
   Stanford Junior University, Ms. Zumwalt, and (beginning after your last failed attempt to serve him
   with process) Dr. Dirbas in the above-referenced matter (“Moving Defendants”).

   My June 12, 2020, correspondence addressed in detail your Motion for Costs, your proposed Motion
   for Sanctions, the objectively inaccurate declaration to which you swore in support of them, and the
   incomplete materials you submitted with them. You originally threatened to file the Motion for
   Sanctions if Moving Defendants did not withdraw and seal footnote 3 to their Motion to Dismiss
   under Rule 10(a). We endeavored to resolve the issue with you in good faith. In your June 16, 2020,
   letter, however, you added a new demand that we withdraw the Motion entirely. Please be advised
   as follows.

         1. We will be taking steps to redact footnote 3 of our Motion to Dismiss under Rule 10(a). This
            is what you requested, and it resolves your unfounded threat to seek sanctions. Even
            though we disagree completely with your contentions on this point, we will do this in order
            to avoid continued distraction from the real issues in this case.

         2. We again urge you to take the steps necessary to redact the individual addresses in your
            Second Amended Complaint. We remind you that it is the filer’s responsibility to comply
            with L.R. 5.2-1. You have refused to do this despite our numerous requests. If you persist in
            your refusal, the Moving Defendants reserve all appropriate remedies against you and your
            client.

         3. You have absolutely no good faith basis for your Motion for Costs, your sworn declaration in
            support contains many objective misstatements, and you have not properly accomplished
            service of process on Dr. Dirbas. We request that you withdraw this Motion. Your
            continued pursuit of the Motion could only be for improper purposes and if you do not
            withdraw it, Moving Defendants will have no choice but to oppose it and pursue all
            appropriate remedies against you and your client.

         4. We will not be withdrawing our Motion to Dismiss under Rule 10(a).

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   Please let me know if you need us to review any draft filings so you can represent to the Court that
   we do not oppose your redaction of the SAC and your withdrawal of the Motion for Costs.

   Sincerely,



   Frank E. Sheeder




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  1                            CERTIFICATE OF SERVICE
  2         I hereby certify that on June 22, 2020, I caused a copy of the
  3   DECLARATION OF FRANK E. SHEEDER III IN SUPPORT OF MOVING
  4   DEFENDANTS’ OPPOSITION TO RELATOR’S MOTION FOR COSTS
  5   PURSUANT TO FED. R. CIV. P. RULE 4(D)(2) to be served upon the following
  6   counsel and parties in interest via the Court’s CM/ECF system:
  7
            Gloria Juarez, Esq.                      Frank D. Kortum
  8         Law Offices of Gloria Juarez             Assistant United States Attorney
            26081 Merit Circle, Suite 112            Room 7516, Federal Building
  9         Laguna Hills, California 92653           300 N. Los Angeles St.
                                                     Los Angeles, CA 90012
 10
            Counsel for Relator                      Counsel for the United States of
 11                                                  America

 12
 13   /s/ Frank E. Sheeder III
      Counsel for Moving Defendants
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                                              -20-
       DECLARATION OF FRANK E. SHEEDER III IN SUPPORT OF MOVING DEFENDANTS’ OPPOSITION TO
               RELATOR’S MOTION FOR COSTS PURSUANT TO FED. R. CIV. P. RULE 4(D)(2)
